Case 3:08-cr-00167-B             Document 582            Filed 08/05/14          Page 1 of 3        PageID 6638



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA,                                 )
          Plaintiff,                                      )
vs.                                                       )    No. 3:08-CV-167-B (BH)
                                                          )
JARVIS DUPREE ROSS,                                       )
          Defendant.                                      )    Referred to U.S. Magistrate Judge

                    FINDINGS, CONCLUSIONS, AND RECOMMENDATION

         Pursuant to the order of reference dated July 25, 2014, before the Court is the defendant’s

Request of Temporary Reprieval of Monetary Payment Schedule, received on July 24, 2014 (doc.

580). Based on the relevant filings and applicable law, the motion should be DENIED.

         Jarvis Dupree Ross (Defendant) states he is employed at UNICOR at the federal prison

facility in Beaumont, Texas.1 Fifty percent of his monthly pay is applied to his restitution balance,

and the average payment is approximately $100 per month.2 Defendant states he is pursuing post-

conviction remedies, and he would like to pay $500 for assistance from a paralegal service. He

seeks an adjustment of the payment schedule pursuant to 18 U.S.C. § 3664(k) to grant him a six-

month reprieve from making restitution payments so he may pay for the paralegal service.

         Section 3664(k) provides that upon notification of a material change in a defendant’s

economic circumstances, the court may adjust a court-ordered payment schedule for restitution. See

United States v. Diggs, 578 F.3d 318, 319 (5th Cir.2009). Here, the restitution order in the judgment

does not set out a payment schedule for the time that Defendant is in prison. There is currently no


         1
           UNICOR, or Federal Prison Industries, is a government corporation that utilizes inmate labor to produce
goods and services. Driggers v. Cruz, 740 F.3d 333, 335 n.1 (5th Cir. 2014).
         2
            The amended judgment of conviction ordered Defendant to pay restitution in the amount of $109,976, payable
immediately with any remaining balance to be paid during incarceration. (See doc. 491, at 7-8.) If there is any unpaid
balance at the commencement of a term of supervised release, Defendant shall make monthly payments of $50 beginning
sixty days after release from imprisonment. Id.
Case 3:08-cr-00167-B         Document 582       Filed 08/05/14       Page 2 of 3      PageID 6639



court-ordered payment schedule that may be adjusted as Defendant requests.

        It appears that Defendant is referring to scheduled restitution payments under the Inmate

Financial Responsibility Program (“IFRP”). See 28 C.F.R. §§ 545.10 - .11 (2014). Under the IFRP,

an inmate may earn money, such as from UNICOR, from which the inmate makes payments toward

his financial obligations, such as restitution. Driggers v. Cruz, 740 F.3d 222, 225 (5th Cir. 2014);

28 C.F.R. § 545.11. Section 3664(k) does not permit a court to adjust a payment schedule under the

IFRP. Diggs, 578 F.3d at 319. An inmate may only challenge a payment schedule under the IFRP

by filing a petition under 28 U.S.C. § 2241 in the district of incarceration. Id. Because Defendant’s

motion does not contend that any aspect of his payments under the IFRP violates the United States

Constitution or federal law, it may not be liberally construed as a § 2241 petition that should be

transferred to the district of incarceration.

        Defendant’s Request of Temporary Reprieval of Monetary Payment Schedule should be

DENIED.

        SIGNED this 5th day of August, 2014.



                                                       ___________________________________
                                                       IRMA CARRILLO RAMIREZ
                                                       UNITED STATES MAGISTRATE JUDGE




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Case 3:08-cr-00167-B        Document 582         Filed 08/05/14       Page 3 of 3      PageID 6640



                           INSTRUCTIONS FOR SERVICE AND
                         NOTICE OF RIGHT TO APPEAL/OBJECT

        A copy of these findings, conclusions and recommendation shall be served on all parties in
the manner provided by law. Any party who objects to any part of these findings, conclusions and
recommendation must file specific written objections within 14 days after being served with a copy.
See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). In order to be specific, an objection must identify
the specific finding or recommendation to which objection is made, state the basis for the objection,
and specify the place in the magistrate judge’s findings, conclusions and recommendation where the
disputed determination is found. An objection that merely incorporates by reference or refers to the
briefing before the magistrate judge is not specific. Failure to file specific written objections will
bar the aggrieved party from appealing the factual findings and legal conclusions of the magistrate
judge that are accepted or adopted by the district court, except upon grounds of plain error. See
Douglass v. United Servs. Automobile Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).



                                                       ___________________________________
                                                       IRMA CARRILLO RAMIREZ
                                                       UNITED STATES MAGISTRATE JUDGE




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